Case 2:09-cv-07780-DMG-AJW Document 50 Filed 08/12/10 Page 1 of 1 Page ID #:558



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 7
 8                             UNITED STATES DISTRICT COURT
 9                          CENTRAL DISTRICT OF CALIFORNIA
10
11   CHROME HEARTS, LLC, a Delaware               ) CASE NO. CV 09-7780 DMG (AJWx)
     Limited Liability Company,                   )
12                                                ) ORDER DISMISSING ACTION
                        Plaintiff,                ) WITH PREJUDICE
13                vs.                             ) [JS6]
                                                  )
14   AFFLICTION, INC., a California               )
     Corporation; and DOES 1-10, inclusive,       )
15                                                )
                        Defendants.               )
16                                                )
                                                  )
17                                                )
18         IT IS HEREBY ORDERED that this entire action be dismissed with prejudice.
19   Each party shall bear their own attorneys’ fees and costs associated with this action.
20   The jurisdiction of this Court will be retained for purposes of enforcing the parties’
21   settlement agreement entered with regards to this action.
22         IT IS SO ORDERED.
23
24   DATED:       August 12, 2010                  ______________________________
                                                   Hon. Dolly M. Gee
25                                                 United States District Judge
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                        [PROPOSED] ORDER DISMISSING ACTION WITH PREJUDICE
